Case 14-11216-jal                 Doc 37          Filed 10/20/19   Entered 10/21/19 00:49:59         Page 1 of 2



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                                                                           Dated: October 18, 2019
         Case 14-11216-jal            Doc 37        Filed 10/20/19         Entered 10/21/19 00:49:59                 Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 14-11216-jal
Gene A Shy                                                                                                 Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: vschiller                    Page 1 of 1                          Date Rcvd: Oct 18, 2019
                                      Form ID: pdf408                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 20, 2019.
db             +Gene A Shy,   2444 Mohawk Drive,   Bowling Green, KY 42104-4233

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: gocadle@cadleco.com Oct 18 2019 19:35:22     New Falls Corporation,
                 100 N Center Street,   Newton Falls, OH 44444-1321
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 20, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 18, 2019 at the address(es) listed below:
              Alicia C. Johnson    bkalicia@hotmail.com, bk_bruce@hotmail.com;KY52@ecfcbis.com
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              David A. Cohen    on behalf of Creditor   New Falls Corporation dcohen@merlegal.com
              Harlan E. Judd, III    on behalf of Debtor Gene A Shy Harlanjuddlaw@gmail.com,
               juddlawsecretary@gmail.com
              Larry F. Hinton    on behalf of Creditor   Service One Credit Union, Inc. tiffany@rjhp-law.com,
               katie@rjhp-law.com
                                                                                             TOTAL: 5
